Case 2:23-cv-01043-JWH-KES Document 328-5 Filed 02/06/24 Page 1 of 4 Page ID
                                #:14516


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11                     UNITED STATES DISTRICT COURT
12                   CENTRAL DISTRICT OF CALIFORNIA
13

14

15   ENTROPIC COMMUNICATIONS, LLC,          Case No. 2:23-cv-1043-JWH-KES
                                            (Lead Case)
16                  Plaintiff,
                                            Case No. 2:23-cv-1047-JWH-KES
17            v.                            (Related Case)
                                            Case No. 2:23-cv-1048-JWH-KES
18                                          (Related Case)
                                            Case No. 2:23-cv-5253-JWH-KES
19   DISH NETWORK CORPORATION, et           (Related Case)
     al.,
20

21                  Defendants.             [Assigned to the Honorable John W.
                                            Holcomb]
22   ENTROPIC COMMUNICATIONS, LLC,
23                  Plaintiff,
                                            [PROPOSED] ORDER GRANTING
24            v.                            ENTROPIC’S APPLICATION TO
                                            FILE DOCUMENTS UNDER SEAL
25                                          REGARDING ENTROPIC’S
     COX COMMUNICATIONS, INC., et al.,      MOTION TO DISMISS COX
26                                          DEFENDANTS’ COUNTERCLAIMS
                    Defendants.
27

28
                                                                      RECYCLED PAPER
                                 [PROPOSED] ORDER
     317013460.1
Case 2:23-cv-01043-JWH-KES Document 328-5 Filed 02/06/24 Page 2 of 4 Page ID
                                #:14517


 1
     ENTROPIC COMMUNICATIONS, LLC,
 2
                      Plaintiff,
 3

 4
          v.

 5   COMCAST CORPORATION, et al.,
 6                    Defendants.
 7   ENTROPIC COMMUNICATIONS, LLC,
 8                    Plaintiff,
 9        v.
10
     DIRECTV, LLC, et al.,
11
                      Defendants.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          1                           RECYCLED PAPER
                                   [PROPOSED] ORDER
Case 2:23-cv-01043-JWH-KES Document 328-5 Filed 02/06/24 Page 3 of 4 Page ID
                                #:14518


 1            Having considered Plaintiff Entropic Communications, LLC’s (“Entropic” or
 2   “Plaintiff”) Application for an order to file documents under seal regarding Entropic’s
 3   Motion to Dismiss Cox Defendants’ Counterclaims Pursuant to Rule 12(b)(6), which
 4   contains details related to confidential agreements and information involving third
 5   parties, and a sufficient showing having been made under Local Rule 79-5 to permit
 6   filing under seal, IT IS HEREBY ORDERED that Entropic shall file under seal the
 7   unredacted document as follows:
 8

 9    Item to be Sealed Pursuant Description of Information
10    to L.R. 79-5.2.2(a)
11    Portions      of    Entropic’s Terms of confidential agreement between Entropic
12    Motion at 12:4–5.              and a third party.
13    Portions      of    Entropic’s Terms of confidential agreement between Entropic
14    Motion at 12:5–6.              and a third party.
15    Portions      of    Entropic’s Terms of confidential agreement between Entropic
16    Motion at 12:7.                and a third party.
17    Portions      of    Entropic’s Terms of confidential agreement between Entropic
18    Motion at 12:8–12.             and a third party.
19    Portions      of    Entropic’s Terms of confidential agreement between third
20    Motion at 12:16–17.            parties.
21    Portions      of    Entropic’s Terms of confidential agreement between Entropic
22    Motion at 12:19–20.            and a third party.
23    Portions      of    Entropic’s Terms of confidential agreement between Entropic
24    Motion at 14:3–4.              and a third party.
25    Portions      of    Entropic’s Terms of confidential agreement between Entropic
26    Motion at 14:4–7.              and a third party.
27    Portions      of    Entropic’s Terms of confidential agreement between Cox and a
28    Motion at 15:12–13.            third party.
                                                    1
                                     [PROPOSED] ORDER
     317013460.1
Case 2:23-cv-01043-JWH-KES Document 328-5 Filed 02/06/24 Page 4 of 4 Page ID
                                #:14519


 1
     Portions   of      Entropic’s Terms of confidential agreement between Cox and a
 2
     Motion at 15:14–16.            third party.
 3
     Portions   of      Entropic’s Terms of confidential agreement between Entropic
 4
     Motion at 20:11–12.            and a third party.
 5
     Portions   of      Entropic’s Terms of confidential agreement between Entropic
 6
     Motion at 20:12–14.            and a third party.
 7
     Portions   of      Entropic’s Terms of confidential agreement between Entropic
 8
     Motion at 20:15.               and a third party.
 9
     Exhibit A to Declaration of Terms of confidential agreement between Entropic
10
     Cassidy    T.   Young     in and a third party.
11
     Support of Motion.
12
     Exhibit B to Declaration of Terms of a confidential agreement between Cox and a
13
     Cassidy    T.   Young     in third party.
14
     Support of Motion.
15
     Exhibit C to Declaration of Confidential third-party information.
16
     Cassidy    T.   Young     in
17
     Support of Motion.
18

19

20
     Dated:
21                                                     Hon. John W. Holcomb
22
                                                       United States District Judge

23

24

25

26

27

28
                                                   2                              RECYCLED PAPER
                                    [PROPOSED] ORDER
